                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
                              Plaintiff,    )
                                            )
               v.                           )       No.07-00115-06-CR-W-NKL
                                            )
JOSE CANALES,                               )
                                            )
                              Defendant.    )


                           ACCEPTANCE OF PLEA OF GUILTY
                            AND ADJUDICATION OF GUILT

       Pursuant to the Report and Recommendation of United States Magistrate Judge Sarah W.

Hays, to which no objection has been filed, the pleas of guilty to Counts 9, 15, 16 and 17 of the

Indictment are now accepted. Defendant is adjudged guilty of such offenses. Sentencing will be

set by subsequent order of the court.


                                                     s/ NANETTE K. LAUGHREY
                                                    NANETTE K. LAUGHREY
                                                    United States District Judge

Dated: April 2, 2008




       Case 4:07-cr-00115-DGK           Document 231      Filed 04/02/08     Page 1 of 1
